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               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO


PEDRO J. CASADO                                 CIVIL NO.

Plaintiff

Vs.                                             PLAINTIFFS DEMAND
                                                TRIAL BY JURY
FIRST TRANSIT OF PUERTO
RICO, INC.; INSURANCE
COMPANY “A”

Defendants


                                COMPLAINT

TO THE HONORABLE COURT:

      COMES    NOW,    the    plaintiff,        through   the    undersigned

attorney, and very respectfully allege, state and request:

                        I. NATURE OF THE CASE

      1.    This is an action in torts, for damages, under

Puerto Rico Civil Code, Article 1802, 31 L.P.R.A. Sec.

5141, et. seq.

                      II. JURISDICTION AND VENUE

      2.    This Honorable Court has jurisdiction over the

parties and the subject matter of this litigation pursuant

to 28 U.S.C. Sec. 1332, inasmuch as there is complete

diversity     of   citizenship        between    the   plaintiff    and     the

defendants     and    the    amount    in   controversy,        exclusive    of
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costs and interests, exceeds seventy-five thousand dollars

($75,000.00).

    3.     Venue       is    proper        in   this     judicial      district

pursuant   to    28     U.S.C.   Sec.       1391(a)      since    the    claims

alleged arose in this judicial district.

                        III. JURY TRIAL DEMAND

    4.     The       plaintiff   requests        a     jury    trial    for    all

triable issues.



                             IV. THE PARTIES

    5.     The plaintiff is Pedro J. Casado, of legal age,

citizen of the United States of America and resident of

and with domicile in San Juan, Puerto Rico.

    6.     The Defendants are First Transit of Puerto Rico,

Inc. and Insurance Company “A”.

    7.     First       Transit    of        Puerto      Rico,     Inc.    is     a

corporation     incorporated     and        organized     in    the    State    of

Delaware and has their principal place of business in the

State of Ohio.

    8.     First Transit of Puerto Rico is the owner and/or

operator   of    a    mass   transit        business     who     operates      the

Metrobus bus routes in San Juan, Puerto Rico.

    9.     First Transit of Puerto Rico conducted, either

by itself, or through its agents, business transactions


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within Puerto Rico, and it also participated, either by

itself or through its agents, within Puerto Rico in the

commission of the tort object of this complaint.

    10.     Defendant Insurance Company “A” is a corporation

organized, and which has its principal place of business

in a State other that the Commonwealth of Puerto Rico, and

which had issued an insurance policy on behalf of First

Transit   of    Puerto     Rico,   which     policy    covers       for   its

liability      under   a   factual       situation    such    as    the   one

alleged in this complaint.

    11.     Defendant      Insurance      Company    “A”     is    designated

with a fictious name because its rue name is not known at

this time.

                       V. GENERAL ALLEGATIONS

    12.     On June 30, 2016, plaintiff Pedro J. Casado was

waiting for a bus ride in one of the bus stops located at

Ponce De León Avenue in Santurce, Puerto Rico.                        By the

time of the accident Mr. Casado was 69 years old.

    13.     Once the bus arrived and Mr. Casado stepped in,

while he was standing about to pay the fee, the driver

stepped on the accelerator and the bus started abruptly

causing Mr. Casado to lose his balance and falling on his

right side impacting his right shoulder against the floor.




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    14.    Mr. Pedro Casado’s fall was caused by the sudden

and abrupt move of the bus while he was still standing

about to pay the ride fee.

    15.    Defendant              First   Transit        of      Puerto         Rico’s

negligence      and     fault       was   the     adequate       cause         of    the

aforementioned fall due to:

       A. The bus driver’s failure to make the passengers

aware that the bus was going to move;

       B. The     bus        driver’s     negligence       to    make      a    sudden

movement   of    the        bus    knowing    there      was    still      an       elder

passenger who was standing next to him;

       C. The bus driver’s lack of precaution and failure

to take preventive measures to avoid the accident.

       D. Its         corporate       failure     to     have        in    place      or

enforce the implementation of safety procedures in benefit

of the passengers.

    16.    Defendants             Insurance     Company        “A”    is    directly

jointly and severally liable to the Plaintiff for all the

damages caused to her as a result of the above.

                             VI. CAUSES OF ACTION

           1.     First Cause of Action

    17.    All        the    paragraphs         stated    herein          above      are

literally incorporated herein and are made part of this

paragraph.


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    18.     Right after the accident, Mr. Pedro Casado was

transported in ambulance to Hoare Emergency Room in San

Juan where he received medical assistance.

    19.     As a direct consequence of the facts described

above,    plaintiff     Pedro       Casado    sustained       multiple    body

trauma, particularly a right shoulder rotator cuff tear

and right shoulder biceps long head tear.

    20.     For this injuries, on January 27, 2017, Pedro J.

Casado had a right rotator cuff surgery.                     Thereafter, he

received prescription pain medication and around fifteen

(15) physical therapy sessions.                   Because of the surgery,

plaintiff remained with a 5cm scar.

    21.     As a direct result of the accident, Pedro J.

Casado    has      suffered     intense           right     shoulder      pain,

impairment      and   limitation       of     motion,       all   which    have

substantially limited his capacity to perform most of his

life’s activities and to be permanently partially disabled

of his general physiological functions.

    22.     As a direct result of the accident, Pedro J.

Casado has a 5% whole person impairment.

    23.     The    Plaintiff    Pedro        J.    Casado   is    entitled   to

receive    full,      just    and     fair        compensation     for    these

damages, in a money amount of no less than two hundred

thousand dollars ($200,000.00).


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             2.     Second Cause of Action

     24.     All        the    paragraphs       stated     herein       above     are

literally incorporated herein and are made part of this

paragraph.

     25.     As a direct result of the physical injuries and

partial permanent disabilities stated above, the Plaintiff

Pedro J. Casado has sustained the loss of his capacity to

engage in most of his life activities and to enjoy life.

     26.     As a direct result of the above, the Plaintiff

Pedro   J.   Casado           has   suffered,        is   suffering      and     will

continue to suffer severe mental, psychological, moral and

emotional pain, anguish and distress.

     27.     The    Plaintiff         Pedro     J.   Casado      is    entitled    to

receive full, just and fair compensation for the above

stated damages, in a money amount of no less than one

hundred thousand dollars ($100,000.00).

     WHEREFORE, it is respectfully requested that Judgment

be   entered       by    this       Honorable    Court      in    favor     of    the

Plaintiff      and        jointly       and      severally            against     the

Defendants:

     A.      Granting the Plaintiff all the sums requested in

             complaint.




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     B.   Imposing upon the Defendants the payment of all

          costs and expenses to be incurred in this

          lawsuit.

     C.   Granting    the   Plaintiff     any   other   relief   that

          they may be entitled to as a matter of law.

     D.   And, in the event Defendats deny liability,

          awarding Plaintiff pre-judgment interests, plus

          a reasonable amount for attorney’s fees.



     RESPECTFULLY SUBMITTED in San Juan, Puerto Rico this

7th day of June, 2017.



                            s/       Juan M. Cancio Biaggi



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